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EXhibit D

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07/03/2013 web 101 19 FAx 914 495 3051 151 Broadway,Hawthorne _,___@225_/14_2

Richard Al'tman

Frem: Peu| i\/iorreil <Paui.l\/iorrell@almorrell.com>

Sent: l\/Ionday, December 10, 2012 2106 PM

To: R'lchard Altmah

Cc: ‘ Alan Morrell

Subject: RE: Global Freight Systems Co. W.L.L. vs. Al-Morreil Developrnent LLC

Dear l\/lr. Altman,

Al Morrell Development (Ai\/ID) sold all of her assets and her liabl|itles to Brlght Pearl (BP) as of 1/1/12, Aile currently
has nc)- assets, income or operations so sulng her is going to be a Waste of your time and money. BP has enjoyed the
benefit of the services provided by Global Frelghr and is ultimately the responsible party.

|'m sorry for the confusion but BP has not been as forth coming as lt should be ln assuming her liabllities.

Paul l\/lorre|l

Chairman

/-\l\/lD

 

From: Rlcherd Altman l malice:raiunan@richardaitmennc.coml
Sent: Monday, December 10, 2012 7:01 AM
To': Paui Morrel|

Cc: Alan Morrell;c corey larson@g|morrel .com
Subjec:l:: Global Fre|ght Systems Co W L. L vs Al- -Morre|| Development l.LC

l\/lr. Paul Morrell

Chairman

Al-Morrell Development LLC
8369 S. Sandy Parkway
Sandy, Utah 84070

RE: Delinquent Balance Due to Global Freight Systems Co. W.L,L
USSZ48,675.00

Dear Mr. I\/lon'ell‘.

Please be advised that this law firm represents Global Freight Systems Co, W.L,L, in the United S'lates, Please
review the attached letter on behalfofour olient, Only immediate corrective action Will av ert a lawsuit

Sincereiy,
Richard Altman

Riohard Altman, P.C. '
Attorney-At- -Law

151 Bloadway

Hawthorne New Yorl< 10532
(914) 393 3982 (Tei .)

(203) 961 3939 (Fax)`;'_

 

GFS Genoa Gama 00130

